Case 2:25-cv-00360 Document1 Filed 06/03/25 Page 1 of 16 PagelD #: 1

Pro Se | (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the

Southern District of West Virginia

FILED

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U.S. District Cov
Southem District of West Virginia

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Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
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ar -
ANS R PLES Rosa
SENN VERS Srila 7
Defendant(s)

(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

CaseNo, A‘dAd-ev 200 AGO

(to be filled in by the Clerk’s Office)

Jury Trial: (check one) [Mi] ves [_]No

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name Sse Qe \E ss KG 05 by
Street Address
City and County Sea ea rm Nov.
State and Zip Code

Telephone Number

E-mail Address

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,

include the person's job or title (ifknown). Attach additional pages if needed.

Page | of 5

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Pro Se | (Rev, 12/16} Complaint for a Civil Case

Defendant No. 1

Name TEMA SarrnyGe

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Defendant No. 2

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Defendant No. 3

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Telephone Number

E-mail Address (if known)

Defendant No. 4

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State and Zip Code

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Pro Se | (Rev. 12/16) Complaint for a Civil Case

il. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check aif that apply)

it Federal question C Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

B. If the Basis for Jurisdiction Is Diversity of Citizenship
I, The Plaintiff(s)

a. If the plaintiff is an individual

The plaintiff, (name) , is a citizen of the

State of (name)

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated

under the laws of the State of (ame) ,

and has its principal place of business in the State of (nee)

(if more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2, The Defendant(s)

a, If the defendant is an individual
The defendant, (name) Jis a citizen of
the State of frame) . Oris a citizen of

(foreign nation)

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Pro Se E (Rev. 12/16) Complaint for a Civil Case

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IV.

b. If the defendant is a corporation
The defendant, (#ame) , is incorporated under
the laws of the State of (name) , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation) s

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvernent or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
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Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages. “ae Rue Wr ee SEE As tn Tarn AOD oF
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Pro Se | (Rev. 12/16) Complains for a Civil Case

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Vy. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing; s+ ~ AS

Signature of Plaintiff NN QA,

‘t

Printed Name of Plaintiff NOS, Bayou
Wr ¥ wa

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code

Telephone Number
E-mail Address

Page Sof 5

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UNITED STATES DISTRICT COURT

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint

A. The Plaintiff(s)

Name: Joseph D. Mulla

Street Address: 8 Muggleburg Lane

City and County: South Charleston, Kanawha
State and Zip Code: WV 25309

Telephone Number: 304-881-2591

E-mail Address: michaelmulla8S@gmail.com

B. The Defendant(s)

1, Tera Salango, Judge, Kanawha County Circuit Court

2. Stephanie Abraham, Judge, Kanawha County Circuit
Court

3, Jennifer Bailey, Judge, Kanawha County Circuit Court
4, State of West Virginia, by and through its Family Court
Division, CPS, and Judiciary

IL Basis for Jurisdiction

This case involves a Federal Question under 42 U.S.C. §
1983 for violation of civil rights under the United States
Constitution, specifically the 14th Amendment Due Process
Clause and Equal Protection Clause.

IIT. Statement of Ciaim

Plaintiff Joseph D. Mulla, acting pro se, brings this action
against the above defendants for the systemic failure to

protect his granddaughter, M M and for violating
his and M constitutional rights under color of state
law.

Judge Tera Salango relied on ex parte communications
submitted by CPS and third parties to strip Plaintiff of
unsupervised visitation rights. She refused to allow Plaintiff
to refute the claims, present evidence, or cross-examine any
party. Salango then dismissed the case entirely and recused
herself.

Judge Stephanie Abraham, who received the complaint
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next, also dismissed Plainti s complaint without hearing it.
She too recused herself shortly thereafter.

The case was assigned to Judge Jennifer Bailey in
December 2024. Plaintiff filed an emergency child
protection petition documenting serious abuse and
dangerous living conditions at M M current
residence with her grandmother Karen Crawford and
mother Samantha Holcomb. Bailey failed to act on this
emergency petition for over ftve months, ignoring
Plaintiff’s due process right to a prompt hearing and his
eranddaughter’s right to protection.

The house has holes in the roof and floors exposing the
child to weather and vermin, over 16 cats, multiple dogs,
and a ferret living in unsanitary conditions. Even the court-
appointed visitation supervisor documented the
overwhelming stench of urine and visible feces in the
home. Yet, Judge Bailey ignored these urgent conditions.

Plaintiffs civil rights under 42 U.S.C. § 1983, including:
- Denial of due process (U.S. Const. Amend. XIV)

- Violation of right to a timely hearing (WV Code § 49-4-
601(i), requiring hearings within specific timelines for
protection)

- Violation of the right to family association (Troxel v.
Granville, 530 U.S. 57 (2000))

- Judicial misconduct and deliberate indifference (Dennis v.
Sparks, 449 U.S. 24 (1980))

- Potential criminal neglect and endangerment by CPS
personnel and those acting in concert under color of law

Judges’ refusal to allow evidence, suppressing hearings,
and ignoring mandatory judicial duties constitute systemic
abuse of power and discrimination against Plaintiff for
asserting his family rights.

IV. Relief
Plaintiff Joseph D. Mulla respectfully seeks the following relief:

1. Compensatory Damages in the amount of $5,000,000 (Five Million Dollars)
for the harm suffered as a result of the ongoing civil rights violations, mental
distress, reputational harm, and the reckless disregard shown by the
defendants toward the Plaintiff and his granddaughter’s safety and rights.

2. Punitive Damages in an amount to be determined by the court to punish
the defendants for their willful and malicious conduct and to deter similar
misconduct in the future.

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3. Any additional relief that the Court deems just and proper, including
injunctive relief to ensure MW “Ms protection and enforcement of
due process rights under the U.S. Constitution.

Plaintiff seeks the following relief:

- Declaratory judgment that his constitutional rights and -
thoseofM - M — were violated.

- Preliminary and permanent injunction requirmg an
immediate evidentiary hearing.

- Compensatory damages for emotional distress, harm to
reputation, legal expenses, and prolonged visitation
obstruction.

- Punitive damages against individual judges for malicious
and willful misconduct in excess of $500,000.

- Criminal referral to DOJ and West Virginia Commission
on Judicial Conduct for obstruction, dereliction of duty, and
willful indifference to child endangerment.

V. Certification and Closing

I, Joseph D. Mulla, certify under Federal Rule of Civil
Procedure 11 that the foregoing is true and correct to the
best of my knowledge.

Date: May 1&2025

Signature: wy

Printed Name: Joseph D, Mulla

Additionally, it must be emphasized that Judge Tera
Salango initially issued a court order mandating the
removal of all children from the home of Karen Crawford
due to concerns about safety and abuse. However, this
order was unlawfully overridden by Child Protective
Services (CPS), who acted without filing any formal
motion or obtaining judicial approval. As a result, my
granddaughter, MV. M was returned to an
environment Judge Salango had already determined was
dangerous. This unlawful override placed M in direct
harm and constitutes a gross failure of due process and
judicial oversight. Judge Stephanie Abraham and Judge
Jennifer Bailey, both of whom later assurned responsibility
for this case, were made fully aware of Judge Salango’s
original ruling. Despite this, neither judge acted to enforce
the original protective order or respond to my emergency
filings. Their inaction has further endangered M and
deprived me of my rights as a grandparent, as well as

M -.-  civilright to safety and protection under the law.
DEMAND FOR JURY TRIAL

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triable pursuant to Rule 38 of the Federal Rules of Crvil
Procedure.

VI. Legal Basis for Jurisdiction and Right to Jury Trial
This Court has jurisdiction pursuant to:

- 28 U.S.C. § 1331: Federal question jurisdiction for claims
arising under the Constitution and laws of the United
States.

- 28 U.S.C. § 1343: Jurisdiction over civil rights claims,
including those brought under 42 U.S.C. § 1983.

- 42 U.S.C, § 1983: Civil action for deprivation of rights
under color of state law.

- U.S. Constitution, Fourteenth Amendment: Protects
Plaintiff's right to due process and equal protection.

- U.S. Constitution, First Amendment: Protects the right to
speak out against government conduct, including filing
court actions.

- West Virginia Constitution, Article IIT §§ 10 & 17:
Guarantees equal protection and access to the courts.

Right to Jury Trial:

- U.S. Constitution, Seventh Amendment: Guarantees the
right to a trial by jury in civil cases where the value in
controversy exceeds $20,

- Rule 38 of the Federal Rules of Civil Procedure:
Guarantees the right to a jury trial on any issue triable by
jury and requires the demand to be properly made.

- Rule 39 of the Federal Rules of Civil Procedure: Ensures
that once a jury demand is made, the case shall be tried by
jury unless waived.

- West Virginia Constitution, Article III § 13: Confirms the
right to trial by jury shall remain inviolate.

Plaintiff’s claims for compensatory and punitive damages,
as well as constitutional violations involving government
misconduct, are precisely the kind of civil issues that must
be resolved by a jury under both federal and state law. This
court is compelled to hear this case under controlling
federal authority and provide Plaintiff access to a jury of
his peers to evaluate the facts, evidence, and lawfulness of
the defendants’ actions.

VIE. Improper Prosecutorial Involvement and Judicial Misconduct
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Plaintiff submitted multiple motions to all three presiding
judges—Salango, Abraham, and Bailey. Nearly all motions
were ignored or dismissed without hearing. Judge Tera
Salango was the only judge to allow a hearing on Plaintiff’s
Motion to Intervene. During that hearing, Judge Salango
allowed a prosecutor to object to Plaintiff's motion and
speak on the record.

At the time, Plaintiff was not accused of any crime and was
not a party to any criminal proceeding. Therefore, the
prosecutor had no legal standing to participate or protest
Plaintiff’s civil motion. This conduct violated Plaintiff's
due process rights and demonstrated bias and undue
influence in the court proceedings.

Case Law Supporting Plaintiffs Position:

- Polk County v. Dodson, 454 U.S. 312 (1981): A
prosecutor’s participation must be related to criminal
proceedings; interference in civil matters where no charges
are filed is inappropriate.

- Young v. United States ex rel. Vuitton et Fils $.A., 481
U.S. 787 (1987): Prohibits participation of prosecutors in
cases where they have no jurisdiction or where their
involvement presents a conflict of interest.

- In re Gault, 387 U.S. 1 (1967): Due process must be
afforded in all proceedings, and no party should face
prosecutorial opposition without a formal complaint or
charge being filed.

- US. v. Griffin, 84 F.3d 912 (7th Cir. 1996): Courts must
ensure that prosecutors do not act outside their authority or
interfere in matters where they have no legal role.

Judge Salango’s decision to allow prosecutorial objection
in a private civil motion, where Plaintiff was not a
defendant in any criminal matter, constitutes judicial
overreach and undermines Plaintiff’s fundamental rights.

VIII. Appellate Interference and Withholding of Court Records

Plaintiff Joseph D. Mulla filed a civil rights appeal with the
Intermediate Court of Appeals of West Virginia. That court
accepted jurisdiction over Plaintiff's claims, which
centered on the unlawful decision by Judge Tera Salango to .
combine Plaintiff’s case with his son’s JA (juvenile abuse
and neglect) case. Plaintiff was never charged with abuse or

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Despite this, Judge Salango dismissed Plaintiff's case
without a hearing—thereby denying his right to be heard
and violating due process under the Fourteenth
Amendment. The Intermediate Appellate Court took the
case seriously, recognizing on the record that constitutional
violations may have occurred.

However, the appellate process was obstructed when Judge
Salango refused to release the court transcript of the
hearing where the improper consolidation and dismissal
occurred. The withholding of this official court record
prevented the appellate court from reviewing the factual
and procedural history of the violation, effectively
shielding Judge Salango’s conduct from scrutiny and
appellate review.

Legal Authority:

- Brady v. Maryland, 373 U.S. 83 (1963): Withholding
evidence or court records relevant to the assertion of
constitutional rights is a due process violation.

- Griffin v. Ilinois, 351 U.S. 12 (1956): The right to
meaningful appellate review includes access to the
transcript of the proceedings under challenge.

- Evitts v. Lucey, 469 U.S, 387 (1985): Denial of appellate
procedures and deliberate obstruction of appeal rights is a
direct violation of due process.

This pattern of obstruction, improper consolidation, and
withholding of court records forms part of a coordinated
effort by state officials to suppress Plaintiffs access to
justice and conceal the misconduct that has harmed both
Plaintiff and his granddaughter.

Additional Legal Authority — Withholding Transcripts and
Due Process:

The refusal of Judge Tera Salango to provide the hearing
transcript constitutes a clear violation of Plaintiff's
constitutional right to a meaningful appeal and undermines
the integrity of the judicial process.

Federal Authority:
- Griffin v. Illinois, 351 U.S. 12 (1956): The Supreme Court

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meaningful appellate review. The denial of transcripts to an
appellant violates the Equal Protection and Due Process
Clauses of the Fourteenth Amendment.

- Entsminger v. lowa, 386 U.S, 748 (1967): The Court ruled
that failure to provide a trial transcript on appeal deprives
the defendant of effective assistance and meaningful access
to the appellate process.

- Hardy v. United States, 375 U.S. 277 (1964): Emphasizes
that a full and fair appellate review requires the record of
the trial proceedings.

- Draper v. Washington, 372 U.S. 487 (1963): Denying a
transcript or substituting it with an inadequate summary is
unconstitutional when the accuracy of proceedings is in
dispute.

West Virginia Authority:

- State v. Smith, 178 W. Va. 104, 358 S.E.2d 188 (1987):
Establishes that the inability to produce a transcript of
lower court proceedings for appellate review may require
reversal.

- State ex rel. Kidd v. Wilson, 167 W. Va. 665, 280 S.E.2d
231 (1981): The West Virginia Supreme Court held that an
appellant is entitled to a fair and adequate record for
review, and its absence prejudices the right to due process.
- State v. Byus, 171 W. Va. 437, 299 S.E.2d 334 (1983):
Recognizes that the trial court’s failure to ensure
preservation and availability of critical proceedings can
amount to reversible error.

Judge Salango’s refusal to produce the transcript, especially
when the hearing is central to the violation being appealed,
constitutes obstruction of appellate rights and a serious due
process breach under both federal and West Virginia
constitutional law.

IX. Suppression of Exculpatory Testimony and Collusion Among Officials

All three presiding judges—Salango, Abraham, and Bailey
-—along, with the assigned prosecutor, Guardian ad Litem
Sandra Bullman, CPS personnel, and attorneys involved in
the proceedings, were fully aware that Detective Coleman
of the Kanawha County Sheriff’s Department and CPS
official Ivan Lee possessed exculpatory testimony in favor
of Plaintiff. Their testimony would directly support
Plaintiff’s efforts to regain custody of his granddaughter
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decisions rendered in this case.

Despite this, their testimony was never allowed to be
presented. Instead, the presiding judges enabled and
sustained a pattern of suppression, refusing to subpoena or
allow entry of these critical witnesses into the record. The
omission of their favorable testimony constitutes a flagrant
violation of the Plaintiff’s due process rights and the child’s
right to be protected from harm.

Furthermore, there is evidence and consistent practice of ex
parte communication between CPS workers, the GAL, and
the bench--communications not disclosed to Plaintiff and
clearly prohibited under judicial conduct rules. This
collusion demonstrates a coordinated effort to silence
opposition and conceal the truth.

Legal Authority:

- Brady v. Maryland, 373 U.S. 83 (1963): The suppression
by the prosecution of evidence favorable to an accused
violates due process.

- Giglio v. United States, 405 U.S. 150 (1972): Suppression
of material evidence affecting the credibility of a witness is
a due process violation.

- Napue v. Illinois, 360 U.S. 264 (1959): A conviction or
adverse judgment obtained through false testimony or
suppression of the truth violates the Constitution.

- In re Murchison, 349 U.S. 133 (1955): Due process
requires a neutral decisionmaker and forbids any secret or
ex parte judicial consultation.

This deliberate orchestration to prevent the truth from being
heard in court—-by suppressing the testimony of key public
officials—-further validates Plaintiff’s claims that the
judicial process in this case has been weaponized against
him in violation of both federal and state law.

%, Manipulation of CPS Case Workers and Breach of Conildentialify

Judges Abraham and Bailey knowingly permitted CPS to
substitute the original case worker, Nathan Phillips, with
another worker whose interpretation of the case was
drastically different. This switch occurred despite video
evidence showing Nathan Phillips stating in the hallway of
the courthouse that CPS was in favor of returning custody

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only reason CPS had not moved forward with reunification
was due to motions filed by Plaintiff and the existence...

This clear manipulation of CPS personnel and evidence
trails demonstrates judicial complicity in suppressing
favorable testimony and obstructing due process. It also
violates several legal and ethical standards, including:

- West Virginia Code § 49-5-101: Prohibits public
disclosure of information related to child abuse and neglect
proceedings by any party, including CPS workers, to
unauthorized individuals.

- 42 U.S.C. § 1983: Liability for state actors, including
judges and CPS agents, for violation of constitutional rights
under color of state law.

- W. Va. Rules of Procedure for Child Abuse and Neglect
Proceedings, Rule 6: Restricts the release or discussion of
any confidential case details outside of official proceedings.
- U.S. Constitution, Fourteenth Amendment: Denial of due
process when favorable witnesses are removed and records
manipulated to suppress facts supporting reunification.

The removal of CPS worker Phillips after his favorable
position toward reunification was revealed— paired with
the installation of a new case worker demanding
termination of parental rights--shows a deliberate pattern
of retaliatory and biased conduct by the state to punish
Plaintiff for exercising his constitutional right to free
speech and petitioning the court.

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
CHARLESTON DIVISION

JOSEPH D. MULLA, )
Plaintiff, )

)
v. ) CIVIL ACTION NO. 2:25-cv-00310

)
STATE OF WEST VIRGINIA, et al., )

Defendants. )

OBJECTION TO PROPOSED FINDINGS AND RECOMMENDATION (ECF No. 6)

NOW COMES Plaintiff, Joseph D. Mulla, appearing pro se, and respectfully submits this Objection to the Magistr
I. PLAINTIFF ASSERTS PERSONAL CIVIL RIGHTS UNDER § 1983

The Plaintiff, Joseph Mulla, brings this case not on behalf of his granddaughter MM, but to vindicate his own cons
This action alleges that state actors——including CPS officials and judges—violated Mr. Mulla’s rights to due proce

Courts have long held that close family relationships warrant due process protection. See Troxel v. Granville, 530

The PFR incorrectly interprets this case as an attempt to litigate on behalf of Plaintiff's granddaughter, To the cont
H. YOUNGER ABSTENTION DOES NOT APPLY

The Younger doctrine does not apply where the federal plaintiff is not a party to the state action or where state pro:
II. DOMESTIC RELATIONS EXCEPTION IS INAPPLICABLE

The domestic relations exception applies to divorce, alimony, and child custody disputes—not to civil rights claim
IV. ROOKER-FELDMAN DOES NOT BAR THIS ACTION

Plaintiff does not seek appellate review of a final state judgment, nor was he a party to the final disposition in any ,
V. REQUEST TO AMEND

Should the Court determine that the complaint lacks specific factual detail, Plaintiff respectfully requests leave to <

CONCLUSION

Case 2:25-cv-00360 Document1_ Filed 06/03/25 Page 16 of 16 PagelD #: 16
For these reasons, Plaintiff respectfully requests that the Court REJECT the Proposed Findings and Recommendati
Respectfully submitted,

Joseph D, Mulla

8 Muggleburg Lane

South Charleston, WV 25309
(304) 205-3869

Pro Se Plaintiff

Dated: June 3, 2025

